
		
OSCN Found Document:RE REINSTATEMENT OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE REINSTATEMENT OF CERTIFIED SHORTHAND REPORTERS2023 OK 30Decided: 04/03/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 30, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Reinstatement of Certificates of Certified Shorthand Reporters




ORDER


The Oklahoma Board of Examiners of Certified Shorthand Reporters recommended to the Supreme Court of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Reporters named below be reinstated as they have complied with the continuing education requirements for 2022 and annual certificate renewal requirements for 2023 and have paid all applicable fees.

IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 20, App. l, Rules 20 and 23, the certificates of the following shorthand reporters are reinstated from the suspension earlier imposed by this Court:


	
		
			
			Name
			
			
			CSR #
			
			
			Effective Date of Reinstatement
			
		
		
			
			Kayla Carlock
			
			
			#1381
			
			
			March 16, 2023
			
		
		
			
			Mignon Elise Cruchon
			
			
			#1566
			
			
			March 3, 2023
			
		
		
			
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DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 3rd day of APRIL, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






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